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                               EXHIBIT 14
    Case 2:20-cv-17785-EP-LDW Document 78-16 Filed 05/11/23 Page 2 of 2 PageID: 2027




Account:                                    Account:
Amount: 738.00                              Amount: 738.00
PostDate: 20170825                          PostDate: 20170825
Tran_ID: 543486991                          Tran_ID: 543486991
CheckNum: 53958                             CheckNum: 53958
DIN: 543487686                              DIN: 543487686
ReturnReasonCode:                           ReturnReasonCode:
ReturnReasonDescription:                    ReturnReasonDescription:
Orig_DIN: 543487686                         Orig_DIN: 543487686
ECEItemSeqNum: 9131697521                   ECEItemSeqNum: 9131697521


                                                                           PII



               PII




Account:                                    Account:
Amount: 651.00                              Amount: 651.00
PostDate: 20170825                          PostDate: 20170825
Tran_ID: 545217756                          Tran_ID: 545217756
CheckNum: 53674                             CheckNum: 53674
DIN: 545217761                              DIN: 545217761
ReturnReasonCode:                           ReturnReasonCode:
ReturnReasonDescription:                    ReturnReasonDescription:
Orig_DIN: 545217761                         Orig_DIN: 545217761
ECEItemSeqNum: 000011033010                 ECEItemSeqNum: 000011033010




Account:                                    Account:
Amount: 623.00                              Amount: 623.00
PostDate: 20170825                          PostDate: 20170825
Tran_ID: 545237186                          Tran_ID: 545237186
CheckNum: 53668                             CheckNum: 53668
DIN: 545238101                              DIN: 545238101
ReturnReasonCode:                           ReturnReasonCode:
ReturnReasonDescription:                    ReturnReasonDescription:
Orig_DIN: 545238101                         Orig_DIN: 545238101
ECEItemSeqNum: 008670915646                 ECEItemSeqNum: 008670915646




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Account:                                    Account:
Amount: 183.00                              Amount: 183.00
PostDate: 20170825                          PostDate: 20170825
Tran_ID: 545238691                          Tran_ID: 545238691
CheckNum: 53673                             CheckNum: 53673
DIN: 545240051                              DIN: 545240051
ReturnReasonCode:                           ReturnReasonCode:
ReturnReasonDescription:                    ReturnReasonDescription:
Orig_DIN: 545240051                         Orig_DIN: 545240051
ECEItemSeqNum: 004180085416                 ECEItemSeqNum: 004180085416




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